Case: 4:14-Cv-00385-RWS Doc. #: 1 Filed: 02/27/14 Page: 1 of 2 Page|D #: 1

IN THE UNITED STATES DISTRICT COURT
. E.F(jISTHE EASTERN DISTRICT OF MISSOUR]
EASTERN DIVISION

\'L_=`_r\'¢,

DOUGLAS PHILLIP BRUST DC PC,

Plaintiff,
Cause No.

State Cause No.: l4SL-CC00044

oLYMPIC REHAB WELLNESS AND PAIN
cENTER PC,

Defendant.

 

NOTICE OF REMOVAL

Cornes now Defendant, Olympic Rehab Wellness and Pain Center PC, and hereby files this
Notice of Removal of the above-styled cause to the United States District Court for the Eastern

District of Missoun`, Eastern Division, and for its grounds, respectfully states as follows:

1. On or about January 23, 2014, Plaintiff filed a Class Action Petition in the Circuit
Court of St. Louis County, Missouri, Seeking, inter alia, to certify a class of plaintiffs under the

Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”).

2. This Honorable Cour't has federal question jurisdiction over TCPA cases under 28
U.S.C.. § 1331. Mims v. Arrow Fin. Servs., LLC, 565 U.S. (DocketNo. 10-1195), 132 S.Ct.

740, 745 (2012), overruling Mirns v. Arrow Fin. Servs., LLC, 421 F. Apx. 920, 921 (I lth Cir.2010).

Case: 4:14-cv-00385-RWS Doc. #: 1 Filed: O2/27/14 Page: 2 of 2 Page|D #: 2

3. This Notice of Removal has been filed Within thirty (30) days after receipt by
Defendant of a copy of Plaintiff s initial pleadings setting forth the claim for relief upon which

said action is based. Therefore, this Notice of Removal has been timely filed pursuant to 28 U.S.C.

§ 1446.

4. Defendant files herewith a copy of all process, pleadings and orders relevant hereto.

The complete state court file is filed as an attachment to this Notice of Removal.

WHEREFORE, Defendant Olympic Rehab Wellness and Pain Center PC, prays that an
Order be entered herein, causing cause No. l4SL-CC00044 of the Circuit Court of St. Louis
County, Missouri, to be removed to this court for further proceedings, and that this Court take

jurisdiction herein and make such further orders as may be proper under the circumstances

/s/ Natalia D. McKinstIy

 

' -.-¢‘,r'r

i// § / [?/1/'7€ Naraliab Mclzinsny #52453Mo

1000 A Geyer Avenue
¢ //Z/é//J/V` ?7// ;:W/?/:;/€ (314)621-3006(ph0ne)
_, f`

f""=§‘

t,_

St. Louis, MO 63104
(314) 241-1304 (facsimile)

wyo/w fhwa

' /= / y msmckinstr charter.net
` / aj $
/K}/’%I y z%) 112/uf / Natalia McKinstry LLC,
Attorney for Defendant
CERTIFICATE OF SERVICE

The undersigned certifies that a true copy of the foregoing was served by first class mail, postage
pre-paid, this 27"th day of February, 2014, to Mr. Max Margulis, Margulis Law Group, 28 Old Belle Monte
Road, Chesterfield, MO 63017.

/s/ Natalia D. McKinstry

%M¢
/ /

